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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    ) Civil Action No. 25-400 (AA)
                  Plaintiffs,       )
                                    )
            v.                      )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                  Defendants.       )
___________________________________ )


    PLAINTFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

       Pursuant to Local Civil Rule 65.1(a), Plaintiffs AIDS Vaccine Advocacy

Coalition and Journalism Development Network, Inc., hereby move for a temporary

restraining order, to remain in effect until such time as the Court can further consider

the merits of Plaintiffs’ claims, as follows:

      enjoining Defendants from enforcing or implementing Executive Order

       Number 14169, “Reevaluating and Realigning United States Foreign Aid”

       (Jan. 20, 2025);

      enjoining Defendants from enforcing or implementing the January 24, 2025,

       memorandum issued by Secretary of State Marco Rubio, with the subject line

       “Executive Order on Review of Foreign Assistance Programs” and numbered

       “25 STATE 6828”;




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      enjoining Defendants from issuing, implementing, or enforcing any stop-work

       orders under the authority of the aforementioned Executive Order and

       memorandum; and

      enjoining Defendants to reinstate foreign assistance funding and to continue

       to administer all foreign assistance awards to the same extent and in the same

       manner as they did prior to January 20, 2025, according to the terms of the

       awards.

       Pursuant to Local Rule 65.1(a), counsel for Plaintiffs emailed the three

Assistant Directors for the Federal Programs Branch of the Department of Justice

and the Chief of the Civil Division of the U.S. Attorney’s Office in Washington, D.C.

on February 12, 2025, shortly before filing this motion, to provide them with

electronic copies of the complaint, this motion for a temporary restraining order, the

accompanying memorandum, the Declarations of Mitchell Warren and Andrew

Sullivan and associated exhibits, and a proposed order.

Dated: February 12, 2025               Respectfully submitted,

                                       /s/ Nicolas A. Sansone
                                       Lauren E. Bateman (D.C. Bar No. 1047285)
                                       Allison M. Zieve (D.C. Bar No. 424786)
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